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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 FT. WORTH DIVISION

 ROBERT “BOB” ROSS                               §
 Plaintiff,                                      §
                                                 §
                                                 §
                                                 §
                                                 §
                                                 §       Case No. 4:22-CV-00343
                                                 §
 V.                                              §
                                                 §
 ASSOCIATION OF PROFESSIONAL                     §
 FLIGHT ATTENDANTS,                              §
 MCGAUGHEY, REBER, AND                           §
 ASSOCIATES, INC., JULIE                         §
 HEDRICK, ERIK HARRIS                            §
 Defendants.                                     §


             PLAINTIFF’S BRIEF IN SUPPORT OF MOTION TO FILE LATE
                         RESPONSE/AMENDED RESPONSE


TO THE HONORABLE JUDGE OF SAID COURT:


         COMES NOW Plaintiff, ROBERT (“BOB”) ROSS, and files this, Brief in Support of

Plaintiff’s Motion for Leave to File a Late Response/Amended Response for, and as grounds for

support herein Plaintiff will show this Honorable Court the following:




                                                FACT

      Defendant filed their Motion to Dismiss on July 14, 2022, and Plaintiff filed their Response

to Defendant’s Motion to Dismiss on August 4, 2022, attached hereto and marked as Exhibit A.

Plaintiff filed a subsequent Amended Response to Defendant’s Motion to Dismiss on August 10,




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2022, attached hereto and marked as Exhibit B. It came to Plaintiff’s counsel’s notice that some

of the exhibits were not compliant with the court’s rules.

     Plaintiff hereby files this Motion for Leave to File a Late Response/Amended Response and

attached a Second Amended Response with an appendix of exhibits, hereto and marked as

Exhibit C, to comply with the court rules. However, it is filed after the 21- day deadline to file a

response.

                                                LAW

 In accordance with FRCP 6(b) the court has discretion to allow for more time:
             (b) EXTENDING TIME.
        (1) In General. When an act may or must be done within a specified time,
        the court may, for good cause, extend the time:
          (A) with or without motion or notice if the court acts, or if a request is
        made, before the original time or its extension expires; or
          (B) on motion made after the time has expired if the party failed to act
        because of excusable neglect.



                              ARGUMENTS and AUTHORITIES

     Although inadvertence, ignorance of the rules, or mistakes construing the rules do not

usually constitute “excusable’ neglect,” it is clear that “excusable neglect” under [Federal Rule

of Civil Procedure] 6(b) is a “ somewhat ‘elastic concept,’ and is not limited strictly to

omissions caused by circumstances beyond the control of the movant.” Pioneer Investment

Services Co. v. Brunswick Associates Limited Partnership, 507 U.S. 380, 392 (1993).

Excusable-neglect determinations rely on a balancing of these factors: (1) danger of prejudice

to the nonmoving party, (2) the length of the delay and its potential impact on judicial

proceedings, (3) the reason for the delay, (4) whether the delay was within the reasonable


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control of the moving party, and (5) whether the late-filing party acted in good faith. Nafziger

v. McDermott Int’l, Inc., 467 F.3d 514, 522 (6th Cir. 2006) (citing Pioneer Investment Services

Co., 507 U.S. at 395).

        The Plaintiff has attempted to correct their error within the next business day of becoming

aware of the error. The Plaintiff has acted in good faith, and the Defendant will not be

prejudiced as there has been no substantial substantive change in their response since the date of

the initial timely filing. Defendant was able to provide a reply to Plaintiff’s response, and

therefore there was no prejudice in the delayed amended filing. Plaintiff substantially complied

with the Court’s rules, but did make a couple of errors. Plaintiff is still familiarizing itself with

the local court rules and requests that the court consider this error “excusable neglect” and allow

Plaintiff the opportunity to submit the amended response after the deadline.



                                           CONCLUSION

     Wherefore, as the parties have acted with due diligence in attempting to comply with the

court rules, the Plaintiff respectfully requests that this honorable court act within its discretion

and allow Plaintiff the opportunity to file a late response/amendment to their response to

Defendant’s Motion to Dismiss.




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                                                  Respectfully submitted,
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                                         CERTIFICATE OF
                                            SERVICE


          I certify that true and correct copy of this document was sent to all counsel of
  record, hereunder listed via ECF Filing on this the 22nd day of August 2022.

  William Osborne
  Margot Nikitas
  Sanford Denison
  Michael Rake

                                                                   /s/Heather Abreu
                                                                  Heather Abreu




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